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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                               Judge Kathleen M. Williams
                             Magistrate Judge Edwin G. Torres

                                 CASE NO. 1:18-cv-20333

   SYMBOLOGY INNOVATIONS, LLC,

         Plaintiff,
                                                                PATENT CASE
   v.
                                                       JURY TRIAL DEMANDED
   TECH DATA CORP.,

         Defendant.


                      TECH DATA CORP.’S RULE 12(b)(6) MOTION TO
                        DISMISS FOR FAILURE TO STATE A CLAIM




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   I.     SUMMARY OF THE ARGUMENT

          Tech Data moves to dismiss Symbology’s Complaint pursuant to Rule 12(b)(6) of
   the Federal Rules of Civil procedure for failure to state a claim upon which relief can be
   granted. The claims of Symbology’s patents are directed to the abstract idea of data
   recognition and retrieval. But data recognition and retrieval, like recognizing and
   retrieving information associated with a pattern, like a barcode, is not a technological
   improvement, an inventive way of applying conventional technology, or even new.
          Moreover, none of the claims recite any specific hardware or software. Instead, the
   specification discloses only that the alleged invention uses off-the-shelf computer
   components and devices like a “portable electronic device,” “visual detection
   applications,” and a “remote server” to perform conventional activities like “capturing,”
   “detecting,” “decoding,” “sending,” “receiving,” and “displaying” information.
   Symbology’s patents do no more than withdraw a basic idea (data recognition and
   retrieval) from the public domain without disclosing any particularized application of
   that idea. Therefore, Symbology’s patents are invalid under 35 U.S.C. § 101 for failure to
   claim patent-eligible subject matter.
          Resolving these issues does not require discovery or formal claim construction. To
   avoid waste of judicial and party resources unnecessarily litigating invalid patents, Tech
   Data thus requests that the Court dismiss the Complaint pursuant to Rule 12(b)(6) of the
   Federal Rules of Civil Procedure for failure to state a claim upon which relief can be
   granted.
   II.    STATEMENT OF THE ISSUE

          Abstract ideas are ineligible for patentability under 35 U.S.C. § 101, absent an
   inventive concept that amounts to significantly more than the abstract idea. The Patents-
   in-Suit are directed to the abstract idea of data recognition and retrieval. The Patents-in-
   Suit do not include an inventive concept beyond that idea. Should the Court therefore
   dismiss Symbology’s Complaint pursuant to Rule 12(b)(6) for failure to state a claim?




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   III.   STAGE AND NATURE OF PROCEEDINGS

          On December 22, 2017, Symbology filed this lawsuit accusing Tech Data of
   infringing: U.S. Patent Nos. 7,992,773 (the “’773 Patent”); 8,424,752 (the “’752 Patent”);
   8,651,369 (the “’369 Patent”); and 8,936,190 (the “’190 Patent”) (collectively, the “Patents-
   in-Suit”). Symbology accuses Tech Data of infringing “one or more claims” of the Patents-
   in-Suit 1 by Tech Data’s alleged “using and/or incorporating” a Quick Response Code
   (“QR code”) that appears on some advertising media:




   (Compl. ¶¶ 37, 56, 75, 94.)
   IV.    THE PATENTS-IN-SUIT

          The Patents-in-Suit are entitled “System and Method for Presenting Information
   about an Object on a Portable Electronic Device” and share the same Abstract and the
   same specification. According to the Abstract, the Patents-in-Suit are directed to
   “enabling a portable electronic device to retrieve information about an object when the
   object’s symbology, e.g., a barcode, is detected.” (’773 Patent at Abstract; ’752 Patent at




   1 In its Complaint, Symbology asserts that Tech Data: “has infringed and continues to

   infringe one or more claims of the ’773 Patent, including (at least) Claims 1, 2, 3, 4, 6, 7, 8,
   10, 11, 14, 15, 17, and 18” (Dkt. No. 1 (“Compl.”) ¶ 32); “has infringed and continues to
   infringe one or more claims of the ’752 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8,
   9, 11, 12, 15, 17, 18, 23, 24, and 25” (id. ¶ 51); “has infringed and continues to infringe one
   or more claims of the ’369 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15,
   17, 18, 23, 24, and 25” (id. ¶ 70); and “has infringed and continues to infringe one or more
   claims of the ’190 Patent, including (at least) Claims 1, 2, 3, 4, 5, 7, 8, 9, 11, 12, 15, 17, 18,
   and 20” (id. ¶ 89).

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   Abstract; ’369 Patent at Abstract; and ’190 Patent at Abstract.)
          Claim 1 of the ’752 Patent, set forth below, is representative of the claims in the
   Patents-in-Suit:
          1. A method comprising:

          capturing a digital image using a digital image capturing device that is part
             of a portable electronic device;

          detecting symbology associated with an object within the digital image
             using a portable electronic device;

          decoding the symbology to obtain a decode string using one or more visual
             detection applications residing on the portable electronic device;

          sending the decode string to a remote server for processing;

          receiving information about the object from the remote server wherein the
             information is based on the decode string of the object.;

          displaying the information on a display device associated with the portable
             electronic device.

   (’752 Patent at cl. 1.)
          This claim can be broken down into six main steps: (1) capturing an image with a
   camera or a scanner on a “portable electronic device” (e.g., taking a photograph or
   scanning an image with a smartphone); (2) detecting a symbology (e.g., recognizing a
   barcode in the captured image); (3) decoding the symbology to obtain a “decode string”
   (e.g., reading information from the barcode); (4) sending the “decode string” to a “server”
   for processing (e.g., requesting a webpage based on the information obtained from the
   barcode); (5) receiving information from the “server” in response (e.g., receiving the
   contents of the webpage ); and (6) displaying the information received on the portable
   electronic device (e.g., displaying a webpage). Put simply, these steps are directed to
   recognizing and retrieving information associated with a pattern.
          The applicant made clear through his own language in the specification that the
   components and processes for carrying out the claimed method were conventional. For


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   example, the claimed “portable electronic device” can be virtually any mobile device
   capable of taking a photograph or scanning an image. (Id. at 1:58-61 (“Examples of the
   portable electronic devices that contain both applications and imaging systems include
   Apple Computer’s IPhone, Google's Droid, and various mobile devices from Motorola”);
   id. at 2:57-61 (“Using any applicable visual detection device (e.g., a camera, scanner, or
   other device) on the portable electronic device, the user may select an object by scanning
   or capturing an image of symbology (e.g., barcodes) associated with the object.”).) The
   applicant further acknowledged that various programs and applications operable on a
   portable electronic device to scan and decode a barcode were available in the prior art.
   (Id. at 3:29-33 (“Examples of applications that allow scanning include Neomedia's Neo
   Reader, Microsoft's Smart Tags, Android's Shop Savvy, Red Laser, ScanBuy, etc.”).)
   According to the Patents-in-Suit, once a barcode is decoded (using any of these existing
   applications), the “decode string” (i.e., the information obtained from the barcode) is then
   “sent” to a “remote server” to retrieve information (e.g., webpage content) that is then
   displayed on the portable electronic device. (Id. at 3:21–28.)
          All the modules of the claimed “remote server” are generic computer modules
   and, as the specification states, each “may be implemented in various forms of hardware,
   software, firmware, special purpose processors, or a combination thereof.” (Id. at 9:65–
   10:1.) The specification provides examples of a “remote server,” but each is a generic
   Internet website that users visit on a regular basis: “Warner Brothers server connected to
   a Warner Brothers website” or “an e-commerce site such as Amazon.com.” (Id. at 5:33–
   42).
          The “communication system” used to implement the claimed method is also
   composed of generic networking elements. Figure 1 in the ’752 Patent depicts these
   conventional networking elements:




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   (Id. at Fig. 1). The specification explains that this system is comprised of generic
   components, including “a server 12, a storage medium 14, a portable electronic device 16,
   one or more satellites 18, one or more satellite dishes 20, one or more mobile terminal
   communications towers 22, one or more Wi-Fi towers 24.” (Id. at 3:63-67.) No specialized
   components or programming are disclosed or required. For example, the portable
   electronic device and the server are connected to the communication network “by any
   suitable means.” (Id. at 4:7-28.)
          The applicant acknowledged that various prior-art scanning and decoding
   programs were available to carry out the functions of scanning a barcode to retrieve
   information from a website, but noted: “it may be difficult to select the appropriate
   application for executing the scanning functions” because “a user may have dozens of
   applications loaded on his or her portable electronic device.” (Id. at 3:38-39.) The applicant
   thus wanted to provide a more convenient way to “select[] . . . the best applications for
   scanning a particular symbology.” (Id. at 3:36-50.) In other words, the applicant wanted
   to simply automate something that was otherwise performed manually.


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          A.     Legal Standard

                 1.      This Case Should Be Disposed of at the Pleading Stage Through
                         Rule 12(b)(6).

          Under Federal Rule of Civil Procedure 12(b)(6), a party may move to dismiss a
   complaint that fails to state a claim upon which relief can be granted. To survive a Rule
   12(b)(6) motion, a complaint “must provide the plaintiff’s grounds for entitlement to
   relief—including factual allegations that when assumed to be true raise a right to relief
   above the speculative level.” Cuvillier v. Sullivan, 503 F.3d 397, 401 (5th Cir. 2007) (internal
   citations and quotations omitted). In deciding a Rule 12(b)(6) motion, courts consider
   documents attached to or incorporated into the complaint as well as facts alleged in the
   complaint. Lovelace v. Software Spectrum, 78 F.3d 1015, 1017 (5th Cir. 1996). Although
   factual allegations are taken as true, legal conclusions are given no deference—those
   matters are left for the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (noting
   tenet that allegations are taken as true on a motion to dismiss “is inapplicable to legal
   conclusions”). “[W]hen the allegations in a complaint, however true, could not raise a
   claim of entitlement to relief [as a matter of law], this basic deficiency should . . . be
   exposed at the point of minimum expenditure of time and money by the parties and the
   court.” Cuvillier, 503 F.3d at 401 (internal citations and quotations omitted).
          Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561
   U.S. 593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings
   stage if it is apparent from the face of the patent that the asserted claims are not directed
   to eligible subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718–19 (Fed. Cir.
   2014) (Mayer, J., concurring). In those situations, claim construction is not required to
   conduct a § 101 analysis. Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273
   (Fed. Cir. 2012) (“[W]e perceive no flaw in the notion that claim construction is not an
   inviolable prerequisite to a validity determination under § 101.”).
                 2.      The Law of 35 U.S.C. § 101.
          Section 101 of the Patent Act sets forth four categories of patentable subject matter:
   “any new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C.

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   § 101. Also, the law recognizes three exceptions to patent eligibility: “laws of nature,
   physical phenomena, and abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 309 (1980)
   (emphasis added). Abstract ideas are ineligible for patent protection because a monopoly
   over these ideas would preempt their use in all fields. See Bilski, 561 U.S. at 611–12. In
   other words, “abstract intellectual concepts are not patentable, as they are the basic tools
   of scientific and technological work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63,
   67 (1972)).
          Determining whether a patent claim is impermissibly directed to an abstract idea
   involves two steps. First, the court determines “whether the claims at issue are directed
   to a patent-ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355
   (2014). Second, if the claim contains an abstract idea, the court evaluates whether there is
   “an ‘inventive concept’—i.e., an element or combination of elements that is sufficient to
   ensure that the patent in practice amounts to significantly more than a patent upon the
   ineligible concept itself.” Id. (internal quotations and citations omitted).
          Transformation into a patent-eligible application requires “more than simply
   stating the abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo
   Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim
   could be performed in the human mind, or by a human using pen and paper, it is not
   patent-eligible. CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir.
   2011). Also, a claim is not meaningfully limited if it includes only token or insignificant
   pre- or post-solution activity—such as identifying a relevant audience, category of use,
   field of use, or technological environment. Mayo, 132 S. Ct. at 1297–98, 1300–01; Bilski, 561
   U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191–92 & n.14 (1981); Parker v. Flook, 437 U.S.
   584, 595 n.18 (1978). Finally, “simply appending conventional steps, specified at a high
   level of generality, to laws of nature, natural phenomena, and abstract ideas cannot make
   those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see also Fort Props.,
   Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a broad and
   general limitation does not impose meaningful limits on the claim’s scope.”).



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          B.      The Patents-in-Suit are Invalid under 35 U.S.C. § 101
          Symbology’s Complaint should be dismissed. The claims of the Patents-in-Suit are
   invalid under 35 U.S.C. § 101 because they fail both prongs of the Alice test. Each of the
   claims is directed to the abstract idea of data recognition and retrieval. Abstract ideas are
   not eligible for patenting. None of the claims contains an “’inventive concept’ . . .
   sufficient to ensure that the patent in practice amounts to significantly more than a patent
   upon the ineligible concept itself.” See Alice, 134 S. Ct. at 2355 (emphasis added). Because
   Symbology has failed to state a claim upon which relief may be granted, Tech Data
   respectfully requests that the Court grant its motion and dismiss this case with prejudice.
   Fed. R. Civ. P. 12(b)(6).
                  1.     Alice Step 1
          In determining patent eligibility under § 101, the Court must first determine
   whether the claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any
   plausible reading, the claims of the Patents-in-Suit are directed to an unpatentable,
   abstract idea because they claim nothing more than the “longstanding,” “routine,” and
   “conventional” concept of data recognition and retrieval. See Alice, 134 S. Ct. at 2356-59;
   Bilski, 561 U.S. at 611.
                         (a)   Claim 1 of the ’752 Patent is directed to the abstract idea of
                               data recognition and retrieval.

          Claim 1 of the ’752 Patent is representative of the claims. 2 See, e.g., Phoenix
   Licensing, L.L.C. v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at
   *8–9 (E.D. Tex. Mar. 8, 2017) (invalidating 974 claims after analyzing only a few
   “representative claims” where the other claims were “substantially similar” and “linked
   to the same abstract idea.”). In assessing whether this claim is directed to an abstract idea,
   the Court must look past the claim language for the purpose of the claim to determine




   2 Where claims are “substantially similar and linked to the same abstract idea,” courts

   may look to representative claims in a § 101 analysis. Content Extraction and Transmission
   LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014).

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   what the invention is trying to achieve. Morales v. Square, Inc., 75 F. Supp. 3d. 716, 725
   (W.D. Tex. 2014), aff’d, 621 F. App’x 660 (Fed. Cir. 2015), cert. denied, 136 S. Ct. 1461 (2016).
   All Claim 1 of the ’752 Patent explains is a way to use a barcode to obtain information in
   order to access a webpage, consisting of nothing more than a set of basic ideas like
   capturing, detecting, decoding, sending, receiving, and displaying data:
                                Claim Language                                    Claimed Idea
    A method comprising:
       capturing a digital image using a digital image capturing device          capturing data
          that is part of a portable electronic device;
       detecting symbology associated with an object within the digital          detecting data
          image using a portable electronic device;
       decoding the symbology to obtain a decode string using one or             decoding data
          more visual detection applications residing on the portable
          electronic device;
       sending the decode string to a remote server for processing;              sending data
       receiving information about the object from the remote server             receiving data
          wherein the information is based on the decode string of the
          object.;
       displaying the information on a display device associated with            displaying data
          the portable electronic device.

          At a high level, this claim describes the most generic functional steps of a standard
   computer (i.e., capturing, detecting, decoding, sending, receiving, and displaying data).
   Such a broad concept is not patent eligible because it “recite[s] an abstraction—an idea,
   having no particular concrete or tangible form.” Ultramercial, 772 F.3d at 715. That the
   claim purports to implement the steps with conventional components like a “portable
   electronic device,” a “remote server,” a “display device,” and generic “visual detection
   applications” does not make it any less abstract.
          The specification (shared by the Patents-in-Suit) admits that barcode scanning and
   decoding programs were prevalent at the time of the invention. (’752 Patent at 3:29-36.)
   Indeed, the claims implement this prior-art technology to carry out the steps of capturing,
   detecting, decoding, and retrieving information from a server. And while the applicant
   longed to provide a more convenient way to select an “appropriate” scanning/decoding
   application from the “dozens of applications” that may reside on a user’s portable

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   electronic device, he failed to disclose any details of how that was to be accomplished in
   Claim 1 of the ’752 Patent. See Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343,
   1348 (Fed. Cir. 2015) (concluding that claim not directed to patent-eligible subject matter
   where “[t]he mechanism for maintaining the state is not described, although this is stated
   to be the essential innovation.”). Claim 1 of the ’752 Patent does no more than recognize
   an image, decode the image, then do something based upon the decoded information
   with existing technology. It is thus directed to the abstract idea of data recognition and
   retrieval.
          Courts have found similar patent claims to be ineligible. In Content Extraction, the
   claims generally recited “a method of 1) extracting data from hard copy documents using
   an automated digitizing unit such as a scanner, 2) recognizing specific information from
   the extracted data, and 3) storing that information in a memory.” Content Extraction, 776
   F.3d at 1345. The claimed method “could be performed by software on an automated
   teller machine (ATM) that recognizes information written on a scanned check, such as
   the check’s amount, and populates certain data fields with that information in a
   computer’s memory.” Id. The Federal Circuit concluded in Alice’s first step that the claims
   were “drawn to the abstract idea of 1) collecting data, 2) recognizing certain data within
   the collected data set, and 3) storing that recognized data in a memory”; or, put simply:
   “data recognition and storage.” Id. at 1347. In rejecting the plaintiff’s argument that the
   claims were not abstract because they required the use of a scanner, the Federal Circuit
   likened the claims to those found abstract in Alice, which “also required a computer that
   processed streams of bits.” Id. Like the Content Extraction claims, Claim 1 of the ’752 Patent
   is abstract because it simply decodes an image to obtain information and then retrieves
   data from a server based on that information. The claims in Content Extraction were
   directed to data recognition and storage, whereas the Patents-in-Suit are directed to data
   recognition and retrieval—the former claims stored the recognized data, while the latter
   claims retrieve additional data based on the recognized data.
          In Recognicorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322 (Fed. Cir. 2017), the Federal
   Circuit found the patent claim at issue to be directed toward the abstract idea of

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   “encoding and decoding image data.” Recognicorp, 855 F.3d at 1324. The claim at issue in
   Recognicorp recited:
          A method for creating a composite image, comprising:

          displaying facial feature images on a first area of a first display via a first
           device associated with the first display, wherein the facial feature images
           are associated with facial feature element codes;

          selecting a facial feature image from the first area of the first display via a
            user interface associated with the first device,

          wherein the first device incorporates the selected facial feature image into
           a composite image on a second area of the first display, wherein the
           composite image is associated with a composite facial image code having
           at least a facial feature element code and wherein the composite facial
           image code is derived by performing at least one multiplication operation
           on a facial code using one or more code factors as input parameters to the
           multiplication operation; and

          reproducing the composite image on a second display based on the
            composite facial image code.

   Id. The Federal Circuit described the claim as a “method whereby a user displays images
   on a first display, assigns image codes to the images through an interface using a
   mathematical formula, and then reproduces the image based on the codes.” Id. at 1326.
   The Federal Circuit found that this method reflected “standard encoding and decoding.”
   Id.
          The Federal Circuit then explained that encoding and decoding data is “an abstract
   concept long utilized to transmit information.” Id. (citing Intellectual Ventures I LLC v.
   Capital One Fin. Corp., 850 F.3d 1332, 1340–41 (Fed. Cir. 2017) (organizing, displaying, and
   manipulating data encoded for human- and machine-readability is directed to an abstract
   concept)). The Federal Circuit provided several examples of long-utilized methods of
   encoding and decoding of data to transmit information: “Morse code, ordering food at a
   fast food restaurant via a numbering system, and Paul Revere’s ‘one if by land, two if by
   sea’ signaling system all exemplify encoding at one end and decoding at the other end.”


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   Id. Claim 1 of the ’752 Patent likewise simply decodes an image to obtain information, an
   abstract concept.
          Most recently, in Secured Mail Solutions LLC v. Universal Wilde, Inc., 873 F.3d 905
   (Fed. Cir. 2017), the Federal Circuit found claims directed to encoding and decoding a QR
   code invalid under both Alice steps. The Secured Mail claims “provide[d] a method
   whereby a barcode is generated, affixed to a mail object, and sent through the mail system
   [and t]hen, upon receipt, the barcode is scanned, and data corresponding to the sender is
   sent to the recipient over the network and displayed on the recipient’s device.” Id. at 910–
   11. The Federal Circuit found that “each step of the process is directed to the abstract
   process of communicating information about a mail object using a personalized
   marking.” Id. at 911. And because the claims were “non-specific and lack[ed] technical
   detail,” utilizing “well known” technologies and generic hardware, the Federal Circuit
   concluded that the claims lacked an inventive concept. Id. at 912.
          The idea underlying Claim 1 of the ’752 Patent is just as abstract as that of the
   Content Extraction, Recognicorp, and Secured Mail claims. Claim 1 of the ’752 Patent does
   not include any specific limitations or steps regarding extracting data or decoding the
   data. Rather, all of the steps required to carry out the method are directed to the generic,
   conventional ideas of recognizing an image, decoding the image, then doing something
   based upon the decoded information. Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558
   F. App’x 988, 992 (Fed. Cir. 2014) (finding claim directed to “the well-known concept of
   categorical data storage, i.e., the idea of collecting information in classified form, then
   separating and transmitting that information according to its classification, is an abstract
   idea that is not patent-eligible”). That Claim 1 of the ’752 Patent sends and receives the
   decoded information over a network does not make it any less abstract. See, e.g.,
   Ultramercial, 772 F.3d at 716 (noting that “the use of the Internet is not sufficient to save
   otherwise abstract claims from ineligibility under § 101”) (citation omitted).
          By only claiming the desired result—recognizing and retrieving information
   associated with a pattern like a barcode—without describing any specific roadmap for



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   doing so, Claim 1 of the ’752 Patent falls short of claiming eligible subject matter under
   § 101. See Internet Patents, 790 F.3d at 1348; Secured Mail, 873 F.3d at 910–11.
                         (b)     The other asserted claims are directed to the abstract idea of
                                 data recognition and retrieval.

          The remaining asserted claims of the Patents-in-Suit relate to the same abstract
   concept of data recognition and retrieval. Specifically, each of the other asserted
   independent claims refers only to standard computing means for decoding data. For
   example, the claims describe a “computer application” comprising “logic” (’752 Patent at
   cl. 17; ’369 Patent at cl. 17), or a “symbology management application” (’752 Patent at cl.
   24; ’369 Patent at cl. 24; ’190 Patent at cl. 20), to perform each of the steps in Claim 1 of the
   ’752 Patent. Other claims replace the terms “object within digital image” with “digital
   image” (’369 Patent, cl. 1; ’190 Patent at cl. 1) and “electronic device” with “portable
   electronic device” (‘190 Patent at cl. 17). These claims are thus indistinguishable from
   Claim 1 of the ’752 Patent. Claims 1 and 15 of the ’773 Patent 3 recite the additional
   limitation that the visual detection applications run in the “background” 4, which is
   another standard computing function.
          Some of the asserted dependent claims recite similar limitations for: (1) running
   visual detection applications in the background (’752 Patent (cls. 4, 25), ’369 Patent (cls.
   4, 25), and ’190 Patent (cl. 4)); configuring visual detection applications to automatically
   detect barcodes (’752 Patent (cl. 5), ’369 Patent (cl. 5), ’190 Patent (cl. 5), and ’773 Patent
   (cl. 4)); and (3) analyzing the decode string and selecting appropriate application to
   decode (’752 Patent (cl. 9), ’369 Patent (cl. 9), ’190 Patent (cl. 9), and ’773 Patent (cls. 8, 14,
   17, 18)). The purported problem the applicant wanted to resolve was to provide to users
   a convenient way to select “an appropriate” scanning/decoding application “for
   scanning a particular symbology when multiple scanning applications reside on the
   device.” (’773 Patent at 3:24-36.) But running an application in the background,



   3 The ’773 Patent is the parent patent.
   4 The independent claims in the other Patents-in-Suit do not include this limitation.


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   performing a task more efficiently, or automating something that was otherwise done
   manually, does not confer patent eligibility. See Bancorp, 687 F.3d at 1279 (“Using a
   computer to accelerate an ineligible mental process does not make that process patent-
   eligible.”) This is especially true since the applicant forgot to disclose any details on how
   the automatic detection of barcodes could be achieved. Symbology interprets the
   “background” limitation in Claims 1 of the ’773 Patent as requiring that visual detection
   applications be able to be “run in the background in standby.” Dkt. No. 1 (“Compl.”) Ex.
   E. As such, the “background” limitation does not actually solve the stated problem of
   automatic selection of visual detection applications that are simply sitting in conventional
   “standby” until they are brought to the foreground. By only claiming the desired result—
   automatically detecting a pattern like a barcode—without describing any specific
   roadmap for doing so, these claims also fall short of claiming eligible subject matter under
   § 101. See Internet Patents, 790 F.3d at 1348; Secured Mail, 873 F.3d at 910–11.
          The remaining asserted dependent claims are similarly abstract. These claims
   recite insignificant pre- or post-solution activity, such as allowing a user to select certain
   preferences or store data:
    Pre- or Post-Solution Activity                                Claims
    enabling users to select certain preferences                  ’752 Patent (cls. 2, 3, 18)
                                                                  ’369 Patent (cls. 2, 3, 18)
                                                                  ’190 Patent (cls. 2, 3, 18)
                                                                  ’773 Patent (cls. 2, 3)
    detecting barcodes based on user request                      ’752 Patent (cl. 7)
                                                                  ’369 Patent (cl. 7)
                                                                  ’190 Patent (cl. 7)
                                                                  ’773 Patent (cl. 6)
    sending instructions to visual detection applications         ’752 Patent (cl. 8)
    and remote servers                                            ’369 Patent (cl. 8)
                                                                  ’190 Patent (cl. 8)
                                                                  ’773 Patent (cl. 7)
    enabling the user to store information                        ’752 Patent (cl. 11)
                                                                  ’369 Patent (cl. 11)
                                                                  ’190 Patent (cl. 11)
                                                                  ’773 Patent (cl. 10)
    providing e-commerce options to the user                      ’752 Patent (cl. 12)
                                                                  ’369 Patent (cl. 12)

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                                                                       ’190 Patent (cl. 12)
                                                                       ’773 Patent (cl. 11)
    decoding barcodes using visual search technology                   ’752 Patent (cls. 15, 23)
                                                                       ’369 Patent (cls. 15, 23)
                                                                       ’190 Patent (cl. 15)

   These claims, like Claim 1 of the ’752 Patent, are not meaningfully limited because these
   activities are not “essential to the invention.” Clear with Computers, LLC v. Dick's Sporting
   Goods, Inc., 21 F. Supp. 3d 758, 763 (E.D. Tex. 2014) (noting limitations must “do more
   than recite pre- or post-solution activity, they [must be] central to the solution itself” to
   be meaningful) (quotations omitted). All of these claims are directed to the abstract idea
   of data recognition and retrieval and are just as abstract as Claim 1 of the ’752 Patent.
                           (c)     The remaining claims are similarly abstract.
           The other claims of the Patents-in-Suit not specifically asserted in the Complaint
   are also patent-ineligible under the first step of the Alice test. These claims recite
   insignificant pre- or post-solution activity like alerting the user and asking to decode a
   barcode, analyzing a decode string and selecting the appropriate application to decode,
   allowing the user to select an application to decode the barcode, and displaying
   information and images. (See, e.g., ’752 Patent at cls. 6, 10, 13, 14, 16, 19, 20, 21, 22, 26, 27,
   28; ’369 Patent at cls. 6, 10, 13, 14, 16, 19, 20, 21, 22, 26, 27, 28; ’190 Patent at cls. 6, 10, 13,
   14, 16, 19; and ’773 Patent at cls. 5, 9, 12, 13, 16.) Therefore, none of these claims or any of
   the other claims in the Patents-in-Suit not specifically addressed here are directed to
   anything more than the bare idea of data recognition and retrieval. Symbology’s claims
   all fail the first step of the Alice test.
                   2.      Alice Step 2
           Because Claim 1 of the ’752 Patent is directed to an abstract idea, the Court must
   next determine whether it contains an “inventive concept sufficient to transform the
   claimed abstract idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal
   quotations omitted). To pass this test, Claim 1 of the ’752 Patent “must include additional
   features” that “must be more than well-understood, routine, conventional activity.”
   Ultramercial, 772 F.3d at 715 (quotation omitted). Here, Claim 1 of the ’752 Patent is

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   broadly generic and does not contain meaningful limitations that would restrict it to a
   non-routine, specific application of the abstract idea.
                        (a)    The claims contain no inventive concept to transform the
                               abstract idea into patent-eligible subject matter.

          Each of the steps recited in Claim 1 of the ’752 Patent is described only at a high
   level of generality as “capturing a digital image,” “detecting” a barcode, “decoding [the
   barcode] . . . to obtain a decode string,” “sending the decode string to a remote server for
   processing,” “receiving information . . . from the remote server,” and “displaying the
   information.” To accomplish these steps, Claim 1 of the ’752 Patent recites the use of a
   “portable electronic device,” “visual detection applications,” and a “remote server.” But
   the claimed “portable electronic device” can be virtually any device capable of taking a
   photograph (’752 Patent at 1:58–61), the “visual detection applications” can be a variety
   of off-the-shelf applications that users have installed on their smartphones (id. at 3:29-33),
   and the claimed “server” is implemented using generic hardware (id. at 9:65-10:1) to
   perform generic website functions (id. at 5:33-42).
          The applicant’s own characterizations demonstrate that the claimed components
   do not “improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, for
   example by disclosing an “improved, particularized method of digital data
   compression,” DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014),
   or improving “the way a computer stores and retrieves data in memory,” Enfish, LLC v.
   Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir. 2016). For example, in Enfish, the Federal
   Circuit distinguished the claims from others that “simply add[ed] conventional computer
   components to well-known business practices,” Id. at 1338, holding instead that “they
   [we]re directed to a specific improvement to the way computers operate,” Id. at 1336. In
   particular, the unconventional structure of the database resulted in “increased flexibility,
   faster search times, and smaller memory requirements.” Id. at 1337. Unlike Enfish, nothing
   in Claim 1 of the ’752 Patent shows any unconventional methodology that would amount
   to a “specific improvement to the way computers operate.” Therefore, the focus of the
   Patents-in-Suit is not “on [a] specific asserted improvement in computer capabilities” but

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   instead “on a process that qualifies as an ‘abstract idea’ for which computers are invoked
   merely as a tool.” Id. at 1336.
          There is simply nothing “inventive” about using a known process (i.e., decoding
   a barcode) to access a website. See Secured Mail, 873 F.3d at 912. Moreover, the abstract
   functional descriptions in Claim 1 of the ’752 Patent are devoid of any technical
   explanation as to how to implement the purported invention in an inventive way. See In
   re TLI Commc’ns LLC Patent Litigation, 823 F.3d 607, 615 (Fed. Cir. 2016) (claims failed
   Alice’s step 2 where specification limited its discussion of “additional functionality” of
   conventional components “to abstract functional descriptions devoid of technical
   explanation as to how to implement the invention”). Similar to the invalidated claim in
   Recognicorp, nothing in Claim 1 of the ’752 Patent “‘transforms’ the abstract idea of . . .
   decoding,” i.e., recognizing information, “into patent-eligible subject matter.” 855 F.3d at
   1328 (citing Alice, 134 S. Ct. at 2357).
          Courts have repeatedly held that the presence of generic hardware and software
   like the kind recited in Claim 1 of the ’752 Patent does not make an otherwise abstract
   idea patent-eligible. See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir.
   2014) (“That a computer receives and sends the information over a network—with no
   further specification—is not even arguably inventive.”); Content Extraction, 776 F.3d at
   1348 (“At most, [the] claims attempt to limit the abstract idea of recognizing and storing
   information from hard copy documents using a scanner and a computer to a particular
   technological environment. Such a limitation has been held insufficient to save a claim in
   this context.”); Bancorp, 687 F.3d at 1276–77. In addition, an “abstract idea does not
   become nonabstract by limiting the invention to a particular field of use or technological
   environment, such as [mobile services].” Intellectual Ventures I LL v. Capital One Bank
   U.S.A., 792 F.3d 1363, 1366 (Fed. Cir. 2015). Claim 1 of the ’752 Patent is thus ineligible
   under step two of Alice.
          The purported point of novelty of the Patents-in-Suit is the result of providing a
   convenient way for scanning barcodes by automating the “difficult” task of manually
   “select[ing] the appropriate application” to scan barcodes (’773 Patent at 3:24–36), but

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   independent Claims 1 and 15 of the ’773 Patent (and dependent claims 4, 5, 9 and 25 of
   the ’752 Patent, dependent claims 4, 5, 9, 25 of the ’369 Patent, dependent claims 4, 5, and
   9 of the ’190 Patent, and dependent claims 4, 8, 14, 17, and 18 of the ‘773 Patent) do not
   describe any particular non-conventional mechanism for achieving the result. The recited
   limitations—whether considered individually or as an ordered combination—are
   insufficient to add “significantly more” to the abstract idea.
          Because each of the claims of the Patents-in-Suit is altogether devoid of any
   “inventive concept,” they are all patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359–
   60.
          C.     The Disproportionate Risk of Preemption Confirms that the Claims Are
                 Abstract

          Because the claimed methods and systems can be implemented using virtually any
   device capable of taking a photograph, any off-the-shelf scanning/decoding application,
   and any conventional server capable of sending and receiving information, the Patents-
   in-Suit risk preempting all automated methods or systems for recognizing a pattern, like
   a barcode, and retrieving data based on that. See, e.g., Loyalty Conversion Sys. Corp. v. Am.
   Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex. 2014) (finding “preemptive effect . . .
   broad” where “the claims [were] largely functional in nature, they [did] not provide any
   significant description of the particular means by which the various recited functions are
   performed,” and “[a]ll that [was] disclosed [was] the ultimate objective”). Therefore, the
   claims implicate the same preemption concern undergirding the § 101 analysis and
   should be found ineligible.
   V.     CONCLUSION
          For the foregoing reasons, Tech Data respectfully requests that the Court dismiss
   Symbology’s Complaint for failure to state a claim upon which relief can be granted.
   Because leave to amend would be futile, Tech Data requests dismissal with prejudice.




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   Dated: March 8, 2018                        Respectfully submitted,


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                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the above and

   foregoing document has been served on March 8, 2018, to all counsel of record who are

   deemed to have consented to electronic service via the Court’s CM/ECF system.

                                                    /s/ Eleanor T. Barnett
                                                       Eleanor T. Barnett




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